Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 1 of 7 1PageID:
                                                                          of 7 PageID:
                                                                                 1
                                    186318



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   IN RE JOHNSON & JOHNSON TALCUM POWDER                     MDL NO. 16-2738 (MAS) (RLS)
   PRODUCTS MARKETING, SALES PRACTICES,                      JUDGE MICHAEL A. SHIPP
   AND PRODUCTS LIABILITY LITIGATION                         MAG. JUDGE RUKHSANAH L. SINGH

   HANNAH M. THOMPSON
                   Plaintiff,
                                                             COMPLAINT AND JURY DEMAND
   v.
                                                             Civil Action No.: 3:24-cv-6845
   JOHNSON & JOHNSON, INC., ET AL.
                                                             DIRECT FILED ACTION
                             Defendants.



                     SHORT FORM COMPLAINT AND JURY DEMAND


         The Plaintiff named below files this Short Form Complaint and Demand for Jury Trial

  against Defendants named below by and through the undersigned counsel. Plaintiff incorporates

  by reference the allegations contained in Plaintiffs’ Master Long Form Complaint in In re: Talcum

  Powder Products Marketing, Sales Practices, and Products Liability Litigation, MDL No.

  2738 in the United States District Court for the District of New Jersey. Plaintiff files this Short

  Form Complaint as permitted by Case Management Order No. 1 of this Court.

         In addition to those causes of action contained in Plaintiffs’ Master Long Form

  Complaint, where certain claims require specific pleadings and/or amendments, Plaintiff shall add

  and include them herein.




                                                  1
Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 2 of 7 2PageID:
                                                                          of 7 PageID:
                                                                                 2
                                    186319



                                  IDENTIFICATION OF PARTIES

        Identification of Plaintiffs

  1.    Name of individual injured due to the use of talcum powder product(s): Hannah M.

        Thompson


  2.    At the time of the filing of the specific case, Plaintiff is a citizen of South Carolina.


  3.    Consortium Claim(s): The following individual alleges damages for loss of consortium:
                             .

  4.    Survival and/or Wrongful Death Claims:

                Name and residence of Decedent Plaintiff when she suffered the talcum powder

                product(s) related death:




  5.    Plaintiff/Decedent was born on July 1, 2000

  6.    Plaintiff is filing this case in a representative capacity as the                           of the

                                                , having been duly appointed as the

                                                 by the                                   Court of

                                        .

  7.    As a result of using talcum powder products, Plaintiff/Decedent suffered personal and

        economic injuries that are alleged to have been caused by the use of the products identified

        in Paragraph 16 below, but not limited to, the following:


                   X      injury to herself

                          injury to the person represented

                          wrongful death
Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 3 of 7 3PageID:
                                                                          of 7 PageID:
                                                                                 3
                                    186320




                            survivorship action

                      X     economic loss

                      X     loss of services

                            loss of consortium

                            other:


        Identification of Defendants

  8.    Plaintiff(s)/Decedent Plaintiff(s) is/are using the following Defendant(s) (please check all

        that apply)1

                 X        Johnson & Johnson
                 X        Johnson & Johnson Consumer Inc.
                          Imerys Talc America, Inc. (“Imerys Talc”)
                          Personal Care Products Council (“PCPC”)

            Additional Defendants:

                           Defendant(s) (please specify): LTL Management, LLC, Johnson & Johnson

                           Holdco (NA) Inc., Janssen Pharmaceuticals Inc., Kenvue Inc.

                                       JURISDICTION & VENUE

        Jurisdiction:

  9.    Jurisdiction in this Short Form Complaint is based on:

                  X        Diversity of Citizenship

                  □        Other (The basis of any additional ground for jurisdiction must be pled in



        1
          If additional Counts and/or Counts directed to other Defendants are alleged by the specific
        Plaintiff(s) as to whom this Short Form Complaint applies, the specific facts supporting these
        allegations must be pleaded by the Plaintiff(s) in a manner complying with the requirements of the
        Federal Rules of Civil Procedure, and the Defendants against whom they are alleged must be
        specifically identified on a separate sheet of paper attached to this Short Form Complaint.

                                                        3
Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 4 of 7 4PageID:
                                                                          of 7 PageID:
                                                                                 4
                                    186321



         sufficient detail as required by the applicable Federal Rules of Civil Procedure).



        Venue:

  10.   District Court(s) and Division (if any) in which venue was proper where you might have

        otherwise filed this Short Form Complaint absent the direct filing Order entered by this

        Court and to where remand could be ordered by the Judicial Panel for trial: U.S. District

        Court, District of South Carolina, Columbia Division.

                                   CASE SPECIFIC FACTS

  11.   Plaintiff currently resides in (City, State): Barnwell, South Carolina.

  12.   At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum powder product(s) injury,

        Plaintiff/Decedent resided in (City, State): Barnwell, South Carolina.

  13.   The Plaintiff/Decedent was diagnosed with a talcum powder product(s) injury in: Augusta,

        Georgia, in 2022.

  14.   To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using talcum powder

        product(s) on or about the following date: 2000 and continued the use of talcum powder

        product(s) through about the following date 2022.

  15.   The Plaintiff/Decedent purchased talcum powder product(s) in the following State(s):

        South Carolina.

  16.   Plaintiff/Decedent used the following talcum powder products:

                 X        Johnson & Johnson’s Baby Powder

                                      CAUSES OF ACTION

  17.   Plaintiff hereby adopts and incorporates by reference the Master Long Form Complaint and

        Jury Demand as if fully set forth herein.



                                                    4
Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 5 of 7 5PageID:
                                                                          of 7 PageID:
                                                                                 5
                                    186322



  18.   The following claims and allegations asserted in the Master Long Form Complaint and

        Jury Demand are herein adopted by reference by Plaintiff:

                       Count I: Products Liability – Strict Liability – Failure
                       to Warn (Against Imerys Talc)

                X      Count II: Products Liability – Strict Liability – Failure
                       to Warn (Against the Johnson & Johnson Defendants)

                       Count III: Products Liability – Strict Liability –
                       Defective Manufacturer and Design (Against Imerys
                       Talc)

                X      Count IV: Products Liability – Strict Liability –
                       Defective Manufacturer and Design (Against the
                       Johnson & Johnson Defendants)

                X      Count V: Breach of Express Warranties (Against the
                       Johnson & Johnson Defendants)

                X      Count VI: Breach of Implied Warranty of Merchantability
                       (Against the Johnson & Johnson Defendants)

                X      Count VII: Breach of Implied Warranty of Fitness for a
                       Particular Purpose (Against the Johnson & Johnson Defendants)

                       Count VIII: Negligence (Against Imerys Talc)

                X      Count IX: Negligence (Against the Johnson & Johnson Defendants)

                X      Count X: Negligence (Against PCPC)

                X      Count XI: Negligent Misrepresentation (Against the Johnson & Johnson
                       Defendants)

                X      Count XII: Fraud (Against the Johnson & Johnson Defendants)

                X      Count XIII: Fraud (Against PCPC)

                X      Count XIV: Violation of State Consumer Protection Laws of the State of
                       New Jersey (Against the Johnson & Johnson Defendants).


                                                5
Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 6 of 7 6PageID:
                                                                          of 7 PageID:
                                                                                 6
                                    186323



                         Count XV: Fraudulent Concealment (Against Imerys Talc)

                  X      Count XVI: Fraudulent Concealment (Against the Johnson & Johnson
                         Defendants)

                  X      Count XVII: Fraudulent Concealment (Against PCPC)

                  X      Count XVIII: Civil Conspiracy (Against All Defendants)

                         Count XIX: Loss of Consortium (Against All Defendants)

                  X      Count XX: Punitive Damages (Against All Defendants)

                  X      Count XXI: Discovery Rule and Tolling (Against All Defendants)

                         Count XXII: Wrongful Death (Against All Defendants)

                         Count XXIII: Survival Action (Against All Defendants)

                  □      Furthermore, Plaintiff(s) assert(s) the following additional theories and/or

                         State Causes of Action against Defendant(s) identified in Paragraph nine

                         (9) above. If Plaintiff(s) includes additional theories of recovery, to the

                         extent they require specificity in pleadings, the specific facts and allegations

                         supporting these theories must be pled by Plaintiff(s) in a manner complying

                         with the requirements of the Federal Rules of Civil Procedure.




         WHEREFORE, Plaintiff prays for relief and judgment against Defendants of

  compensatory damages, punitive damages, interest, costs of suit, and such further relief as the

  Court deems equitable and just, and as set forth in the Master Long Form Complaint as appropriate.




                                                   6
Case
   Case
     3:16-md-02738-MAS-RLS
         3:24-cv-06845-MAS-RLS Document
                                Document32805
                                         1 FiledFiled
                                                 06/07/24
                                                      06/07/24
                                                            Page Page
                                                                 7 of 7 7PageID:
                                                                          of 7 PageID:
                                                                                 7
                                    186324




                                          JURY DEMAND

        Plaintiffs hereby demand a trial by jury as to all claims in this action.



  Date: June 7, 2024                                    Respectfully submitted,

                                                        ALEX DAVIS LAW OFFICE PSC


                                                        s/ Alex C. Davis_______
                                                        Alex C. Davis
                                                        445 Baxter Ave., Suite 275
                                                        Louisville, Kentucky 40204
                                                        alex@acdavislaw.com
                                                        Phone: (502) 882-6000
                                                        Fax: (502) 587-2007
                                                        Attorney for Plaintiff




                                                   7
